                 IN THE DISTRICT COURT OF THE UNITED STATES
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION
                                   3:02CR233

UNITED STATES OF AMERICA                         )
                                                 )
               vs                                )                  ORDER
                                                 )
WEN XIONG CHEN                                   )
                                                 )

       THIS MATTER is before the court on its own motion to continue the trial of this matter
from the August 2006 term of court.

       The court finds the ends of justice served by taking such action ooutweighs the interest of
the public and Defendant to a speedy trial as set forth in 18 U.S.C.§ 3161(h)(8)(1).

       IT IS THEREFORE ORDERED that this trial be scheduled for the September 5, 2006
term at 9:00 a.m. in the Charlotte Division.

        The Clerk is directed to certify copies of this order to Defendant, counsel for Defendant,
to the United States Attorney, the United States Marshals Service, and the U.S. Probation Office.

       IT IS SO ORDERED.

                                                Signed: July 6, 2006




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